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                    EXHIBIT E
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                     IN THE UNITED STATES DISTRICT COURT

                    FOR THE CENTRAL DISTRICT OF CALIFORNIA




           DIGITAL VERIFICATION

           SYSTEMS, LLC,

                       Plaintiff,

               v.                          No. 5:22-cv-00686-JWH-SP

           ENCYRO, INC.,

                       Defendant.




                     ZOOM DEPOSITION OF LEIGH ROTHSCHILD

                              VOLUME 1 - PAGES 1-130

                           WEDNESDAY, OCTOBER 12, 2022

                               NORTH MIAMI, FLORIDA




           Reported by:      Marilynn Hoover, RPR

                             California CSR No. 8841



                                                                              1
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       1            BE IT REMEMBERED THAT, pursuant to the Federal
       2     Rules of Civil Procedure, the Zoom video deposition of
       3     LEIGH ROTHSCHILD was taken before Marilynn Hoover,
       4     California CSR No. 8841; on Wednesday, October 12,
       5     2022, commencing at the hour of 1:06 p.m.; the witness
       6     testifying from North Miami, Florida.
       7

       8                                APPEARANCES
       9     PALAVAN & MOORE, PLLC
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      16

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      23         On behalf of Defendant
      24

      25     ALSO PRESENT:      Sugouri Batra, in-house counsel


                                                                               2

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       1       WEDNESDAY, OCTOBER 12, 2022; NORTH MIAMI, FLORIDA

       2                         LEIGH ROTHSCHILD,

       3     called as a witness, being duly sworn on oath, was

       4     examined and did testify as follows:

       5                THE STENOGRAPHIC REPORTER:       Thank you.   You     13:06

       6     may begin.                                                       13:06

       7                               EXAMINATION                            13:06

       8     BY MS. LAMKIN:                                                   13:06

       9          Q.    Good morning, and afternoon, Mr. Rothschild.          13:06

      10          A.    Thank you.                                            13:06

      11          Q.    My name is Rachael Lamkin and I represent             13:06

      12     the defendant in this action.                                    13:06

      13                I see you have two attorneys with you here            13:06

      14     today; is that correct?                                          13:06

      15          A.    Yes.                                                  13:06

      16          Q.    Okay.   Mr. Palavan is your outside counsel;          13:06

      17     correct?                                                         13:06

      18          A.    That is correct.                                      13:06

      19          Q.    Okay.   And Ms. Batra, can you please state           13:06

      20     her role for the record.                                         13:06

      21          A.    Yes.    She is general counsel to the company.        13:06

      22          Q.    "The company" being plaintiff, what I will            13:06

      23     call DVS for your deposition.       Is that okay?                13:06

      24          A.    Yes.    She's general counsel to the                  13:06

      25     plaintiff.                                                       13:06


                                                                                  5

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       1          A.    It is.                                              13:24

       2          Q.    Is this the patent that you reviewed on your        13:24

       3     Zoom call with your counsel, Mr. Palavan and                   13:24

       4     Ms. Batra?                                                     13:24

       5          A.    It is.                                              13:24

       6          Q.    If you could please turn to the column 1 of         13:24

       7     the '860 patent, Mr. Rothschild.                               13:24

       8                Mr. Rothschild, who drafted --                      13:25

       9          A.    Excuse me, Ms. Lamkin.     I need time to get       13:25

      10     there.    I'm not quite there.   Thank you.                    13:25

      11          Q.    Um-hum.                                             13:25

      12          A.    I'm there now, Ms. Lamkin.                          13:25

      13          Q.    Mr. Rothschild, who drafted column 1 of the         13:25

      14     '860 patent?                                                   13:25

      15          A.    The draft was done by patent prosecution            13:25

      16     counsel.                                                       13:25

      17          Q.    Did you review column 1 of the '860 patent          13:25

      18     during prosecution?                                            13:25

      19          A.    I do not recall with specificity.                   13:25

      20                I would point out, I would add to that              13:25

      21     answer, if I may, Ms. Lamkin:     That was many, many          13:25

      22     years ago, I believe 2008, so -- I believe, so many            13:25

      23     years ago.   More than ten?    Yes, 2008.    I'm looking at    13:25

      24     the patent to get that date.     So that is, by my             13:25

      25     calculations, approximately 14 years ago.                      13:26


                                                                               18

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       1          Q.    You did review this patent with your counsel           13:26

       2     and last night; correct?                                          13:26

       3          A.    We looked at the patent last night,                    13:26

       4     Ms. Lamkin.   We -- We reviewed the patent last night.            13:26

       5          Q.    And you also reviewed the patent on your own           13:26

       6     last night?                                                       13:26

       7          A.    Yes.                                                   13:26

       8          Q.    Okay.   Mr. Rothschild, how would you explain          13:26

       9     what a module generating assembly in the '860 patent              13:26

      10     is to a jury?                                                     13:26

      11          A.    I would have to look, Ms. Lamkin -- Well, I            13:26

      12     would answer by telling you that -- I'm sorry.        Could       13:26

      13     you repeat the term again, Ms. Lamkin.         I'd appreciate     13:26

      14     that.                                                             13:26

      15          Q.    Module generating assembly.                            13:26

      16          A.    I would say that a module generating                   13:26

      17     assembly is what it says in the specification of the              13:26

      18     9,054,860 patent.                                                 13:26

      19          Q.    Yes, sir.      I'm asking, in your words, how          13:27

      20     you would explain that term to a jury.                            13:27

      21          A.    I would explain it to the jury that it is              13:27

      22     what it says in the specification as published in the             13:27

      23     9,054,860 patent.                                                 13:27

      24          Q.    So you have -- Other than how a module                 13:27

      25     generating assembly is in the patent, you have no                 13:27


                                                                                  19

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       1     other -- Strike that.                                           13:27

       2                You will solely rely upon the patent's               13:27

       3     description for module generating assembly in this              13:27

       4     litigation?                                                     13:27

       5           A.   Could you rephrase the question, please, or          13:27

       6     repeat the question.                                            13:27

       7           Q.   You will solely rely on the '860 patent's            13:27

       8     description of a module generating assembly in this             13:27

       9     litigation?                                                     13:28

      10           A.   I will answer your question by saying:       What    13:28

      11     is -- What is that module?     That the module is what it       13:28

      12     says it is in the patent specification of the                   13:28

      13     9,054,860 patent, the asserted patent, the patent used          13:28

      14     in the complaint, filed in the complaint.                       13:28

      15           Q.   Sir, my question is this:     My client is           13:28

      16     entitled to know how you, as the named inventor, would          13:28

      17     describe a module generating assembly to the jury.              13:28

      18                You understand that?                                 13:28

      19           A.   I'm not an attorney, Ms. Lamkin, so I don't          13:28

      20     know what your client is entitled to or not.      I             13:28

      21     honestly don't.    So my counsel may know, you may know,        13:28

      22     but I don't have any idea what your client is entitled          13:28

      23     to.                                                             13:28

      24                I will tell you that the specification               13:28

      25     speaks to all kinds of terminology, and I would tell            13:28


                                                                                20

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       1      line 46.                                                       14:00

       2           Q.    I want to be perfectly clear that what I'm          14:00

       3      asking for is not where in the specification the term          14:00

       4      "module generating assembly" is mentioned.                     14:00

       5                 What I'm asking for specifically is:     Where      14:00

       6      in the specification is the teaching or the                    14:00

       7      description that corresponds to the claim limitation           14:00

       8      I've read into the record at column 9, lines 9                 14:00

       9      through 11?                                                    14:01

       10                That's the only thing I want, is:      Where in     14:01

       11     the specification is the teaching that corresponds to          14:01

       12     the limitation at column 9, lines 9 through 11?                14:01

       13          A.    Great.   Great.   I would tell you, in answer       14:01

       14     to your question, that I find information -- I don't           14:01

       15     know whether -- what the term -- not being an attorney         14:01

       16     or a patent attorney, what the term "teaching" means;          14:01

       17     but I find information on module generating assembly           14:01

       18     in column 1, line 46, where it says -- and I will read         14:01

       19     slowly.                                                        14:01

       20          Q.    It's okay, Mr. Rothschild.     It's okay.   You     14:01

       21     don't have to read into the record.                            14:01

       22                If you'll just give me the citations.               14:01

       23     Column 1, starting at which line?                              14:01

       24          A.    Line 45 to 48 -- to 49.                             14:01

       25          Q.    Okay.    And can you please provide any other       14:02


                                                                                28

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       1      citations to the specification that describe the              14:02

       2      limitation disclosed at column 9, lines 9 through 11?         14:02

       3           A.    Yes.   I find the term "module generating          14:02

       4      assembly" in line -- approximately line column 2,             14:02

       5      line 17 through 24.                                           14:02

       6           Q.    Great.   Others?                                   14:02

       7           A.    I find the term "module generating assembly"       14:02

       8      in column 3, line 46 to 55.                                   14:02

       9           Q.    Thank you.     Any others?                         14:03

       10          A.    I find the term "module generating assembly"       14:03

       11     in the specification of the '860 patent in column 5,          14:03

       12     line -- approximately line 5 through line 15 -- I'm           14:03

       13     sorry -- line 14.                                             14:03

       14          Q.    Thank you, sir.     Any others?                    14:03

       15          A.    I find the term "module generating assembly"       14:03

       16     in column 5 of the '860 patent, in line 22 --                 14:03

       17     approximately line 22 to line 26.                             14:03

       18          Q.    Thank you.     Others?                             14:03

       19          A.    I find the term "module generating assembly"       14:03

       20     in the '860 patent -- asserted patent, in column 5,           14:04

       21     line 30 through line 35.                                      14:04

       22          Q.    Thank you.     Any others?                         14:04

       23          A.    I find the term "module generating assembly"       14:04

       24     in the '860 patent in line, approximately, 53 --              14:04

       25     column 5, line 53 through line approximately 60 --            14:04


                                                                               29

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       1      fifty -- correcting that to line 59.                          14:04

       2           Q.    Thank you, Mr. Rothschild.                         14:04

       3                 And any other discussions of citation --           14:04

       4      Sorry.    Strike that.                                        14:04

       5                 Any other discussions in the specification         14:04

       6      of the '860 patent for the limitation disclosed at            14:04

       7      column 9, lines 9 through 11?                                 14:04

       8           A.    Ms. Lamkin, I can't say with specificity if        14:05

       9      there's any others; but those are ones that I noted           14:05

       10     when I reviewed the patent a few minutes ago during           14:05

       11     our break, that are contained within the                      14:05

       12     specifications.    To be clear, there may be others.          14:05

       13          Q.    Okay.   Please take your time, sir.    I need      14:05

       14     you to highlight all of them.     Take it -- This is why      14:05

       15     we're here:   You're the named inventor on this patent        14:05

       16     and we need to understand it.                                 14:05

       17                So I need to know, in your opinion, all            14:05

       18     discussions in the specification for the limitation at        14:05

       19     column 9, lines 9 through 11.                                 14:05

       20          A.    Those are the ones, Ms. Lamkin, that I've --       14:05

       21     that I have found.                                            14:05

       22          Q.    Okay.   Thank you.   And in the citations that     14:05

       23     you have just provided, can you find any discussion of        14:05

       24     the specific language -- not just the term "module            14:05

       25     generating assembly," but the specific language --            14:05


                                                                               30

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       1      appearing in the limitation at column 9, lines 9                     14:05

       2      through 11?                                                          14:06

       3           A.    I would believe the answer -- Strike that.                14:06

       4                 The answer would be that the teaching or                  14:06

       5      that the wording is as contained in the specification.               14:06

       6           Q.    I'm sorry.     I don't understand.       I don't          14:06

       7      understand that.                                                     14:06

       8                 MR. PALAVAN:      One second.   One second.               14:06

       9                 Leigh, can you just move your camera to your              14:06

       10     right.    You keep leaning to the right, so if you could             14:06

       11     just move it to the right.                                           14:06

       12                THE WITNESS:      I'm leaning to the right,               14:06

       13     Mr. Palavan, because I'm looking at the patent.                      14:06

       14                MR. PALAVAN:      Yeah, that's what I'm saying.           14:06

       15     So can you just shift your thing to the right?          Yeah,        14:06

       16     there you go.    Perfect.                                            14:06

       17                THE WITNESS:      Does that help?                         14:06

       18                MR. PALAVAN:      Yeah.   That way, Ms. Hoover is         14:06

       19     not having to go like this in following you.                         14:06

       20                THE WITNESS:      Perfect.   Happy to                     14:06

       21     accommodate.                                                         14:06

       22                Could you rephrase the question.         Could you        14:06

       23     restate the question, Ms. Lamkin.                                    14:06

       24          Q.    BY MS. LAMKIN:      I'm asking you to explain             14:06

       25     your response to the question.                                       14:06


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       1                 Ms. Hoover, can you reread his response.             14:06

       2                         (Record read.)                               14:06

       3                 THE WITNESS:    I'm asking Ms. Lamkin to             14:07

       4      repeat the question, not my answer, Ms. Hoover and              14:07

       5      Ms. Lamkin.                                                     14:07

       6                 MS. LAMKIN:    Okay.   I'll do it.                   14:07

       7           Q.    BY MS. LAMKIN:    In the citations that you          14:07

       8      just provided, please point out any discussion of the           14:07

       9      specific language in column 9, lines 9 through 11.              14:07

       10          A.    My answer would be that the wording in the           14:07

       11     specifications speaks for itself.      I have no                14:07

       12     interpretation to provide.                                      14:07

       13          Q.    I'm not asking for interpretation, sir.       I'm    14:07

       14     asking you to point to a specific discussion of the             14:07

       15     language in column 9, lines 9 through 11, in the                14:07

       16     citations you've provided.                                      14:07

       17          A.    My answer would be that the wording in the           14:07

       18     specification speaks for itself.                                14:07

       19          Q.    And can you point to any language in the             14:07

       20     specification that discusses "a module generating               14:08

       21     assembly structured to receive at least one                     14:08

       22     verification data element corresponding to the at               14:08

       23     least one entity"?                                              14:08

       24          A.    My answer would be, as I repeat it again,            14:08

       25     Ms. Lamkin -- I'll repeat it again -- that the wording          14:08


                                                                                 32

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       1           Q.     Is that an accurate statement in your               16:26

       2      declaration?                                                    16:26

       3           A.     Yes.                                                16:26

       4           Q.     Just read it into the record:     "I have more      16:26

       5      than 20 years of experience involving claim                     16:26

       6      construction and claim charts in connection with                16:26

       7      patent litigation.    I also personally analyzed the            16:27

       8      claims and the claim constructions in this case prior           16:27

       9      to the filing of the lawsuit," unquote.                         16:27

       10                 That statement's accurate, Mr. Rothschild?          16:27

       11          A.     I believe it's accurate as to this case, as         16:27

       12     to the --                                                       16:27

       13          Q.     Do you -- Please, sir.                              16:27

       14          A.     I believe it's accurate -- Thank you.    I          16:27

       15     believe it's accurate as to this case, in the case of           16:27

       16     -- and accurate as to this patent, 8,788,090.                   16:27

       17          Q.     Okay.   And then the next page, let me know         16:27

       18     when you've read that.                                          16:27

       19          A.     I've completed reading it, Ms. Lamkin.              16:28

       20          Q.     Okay.   Is there anything in this declaration       16:28

       21     that you -- that is inaccurate, to the best of your             16:28

       22     recollection?                                                   16:28

       23          A.     There is not, to the best of my                     16:28

       24     recollection.                                                   16:28

       25          Q.     Okay.   Do you recall in the RCDI matter that       16:28


                                                                                 84

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       1      the District Court ultimately awarded attorneys' fees          16:28

       2      against RCDI?                                                  16:28

       3           A.    I recall that in the -- in this matter, the         16:28

       4      District Court did not award attorneys' fees against           16:28

       5      RCDI.   Your statement is not correct.                         16:29

       6                 What happened, to the best of my                    16:29

       7      recollection, is the court denied attorneys' fees.             16:29

       8      The other side appealed, to the best of my knowledge,          16:29

       9      to the federal circuit.     The circuit came back and          16:29

       10     contradicted or disagreed with the federal district            16:29

       11     judge and told the district judge -- told the district         16:29

       12     judge to award attorneys' fees.      And, at that point,       16:29

       13     the attorneys -- I'm sorry -- the federal district             16:29

       14     judge followed the circuit's recommendation and                16:29

       15     awarded attorneys' fees against the plaintiff,                 16:29

       16     Rothschild Connected Device Innovation.                        16:29

       17          Q.    And then when the District Court awarded            16:29

       18     attorneys' fees against RCDI, did RCDI pay the                 16:29

       19     attorneys' fees?                                               16:29

       20          A.    RCDI attempted to negotiate to pay the              16:29

       21     attorneys' fees with the plaintiff.      The plaintiff did     16:30

       22     not accept, to the best of my knowledge -- I'm sorry.          16:30

       23     The defendant.    Excuse me.   The defendant did not           16:30

       24     accept our offer to pay.                                       16:30

       25                RCDI was prepared to pay attorneys' fees in         16:30


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       1      some amount, and was negotiating back and forth for                16:30

       2      lower amounts, which was agreed to at some point by                16:30

       3      the defendant.    But a solution -- We were in                     16:30

       4      negotiations, continual negotiations.        A settlement          16:30

       5      was never reached.    RCDI never refused to pay                    16:30

       6      attorneys' fees at any point, to the best of my                    16:30

       7      knowledge.    That was done by my general counsel, at              16:30

       8      the time, in the negotiation process.                              16:30

       9                  So your statement about refusing to pay                16:31

       10     attorneys' fees, or didn't pay them, is not correct,               16:31

       11     Ms. Lamkin.                                                        16:31

       12                 MS. LAMKIN:    I'm going mark as Exhibits 21           16:31

       13     and 22 --                                                          16:31

       14                 THE WITNESS:    I'd also point out for the             16:31

       15     record, for your further knowledge, Ms. Lamkin, that a             16:31

       16     judgment was never obtained, to the best of my                     16:31

       17     knowledge, against the company.                                    16:31

       18                 The court was in fact inquiring, the federal           16:31

       19     district court, why the -- why the defendant did not               16:31

       20     go for a judgment in this matter, and the defendant                16:31

       21     said at this point they didn't want a judgment.       It           16:31

       22     might have been because there was negotiations ongoing             16:31

       23     and that the matter was supposed to be settled between             16:31

       24     the parties -- which is what the court, I believe,                 16:32

       25     from my point of view, was hoping for.                             16:32


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       1           A.    Correct.                                           16:33

       2           Q.    Okay.    Exhibit 21 goes on to say at              16:34

       3      paragraph 2:    "As part of the fee submission, ADS           16:34

       4      requested that this court hold Mr. Rothschild jointly         16:34

       5      and severally liable with RCDI."                              16:34

       6                 Quote:   "So as not to require further             16:34

       7      unnecessary litigation, ADS seeks the award of fees           16:34

       8      and expenses to be entered jointly and severally              16:34

       9      against the entity RCDI and its sole member, Leigh M.         16:34

       10     Rothschild, as the two are one in the same."                  16:34

       11                Does that refresh your recollection that ADS       16:34

       12     tried to name you as a party in this matter,                  16:34

       13     Mr. Rothschild?                                               16:34

       14          A.    That's correct.                                    16:34

       15          Q.    And then in paragraph 3 of Exhibit 21, it          16:34

       16     says:   "On November 8th, 2017, the court ordered the         16:34

       17     fee order."                                                   16:35

       18                Quote:   "It is ordered that Rothschild            16:35

       19     Connected Devices Innovations ('Rothschild') shall pay        16:35

       20     ADS attorneys' fees and costs."                               16:35

       21                Again, is that consistent with your                16:35

       22     recollection that ADS -- that RCDI was ordered to pay         16:35

       23     attorneys' fees and costs in this matter?                     16:35

       24          A.    That's correct.                                    16:35

       25          Q.    In paragraph 4, it says:     "This court           16:35


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       1      and five dollars as its assets?                                16:36

       2           A.    I do not recall that.     I do not know if          16:37

       3      that's correct.                                                16:37

       4           Q.    Okay.   Do you have any reason to doubt that        16:37

       5      representation by RCDI at the time?                            16:37

       6           A.    I have every reason to doubt it, because I          16:37

       7      don't have any knowledge of it.                                16:37

       8           Q.    Okay.   "As of the date of this motion, RCDI        16:37

       9      has failed to comply with the fee order, as RCDI has           16:37

       10     neither paid the amount directed to be paid ... nor            16:37

       11     has RCDI made any notification to this court."                 16:37

       12                Is that consistent with your recollection of        16:37

       13     the matter, sir?                                               16:37

       14          A.    It is not consistent, in the fact that I            16:37

       15     testified earlier that negotiations were ongoing,              16:37

       16     where we made several offers to pay from our general           16:37

       17     counsel at the time to the company.      Numerous              16:37

       18     discussions, in my memory, were held and negotiations          16:37

       19     went back and forth in terms of payment, right until           16:38

       20     the case ended.                                                16:38

       21          Q.    Do you have any recollection of RCDI ever           16:38

       22     paying to ADS the ordered fee award?                           16:38

       23          A.    I do not.                                           16:38

       24          Q.    Turn to Exhibit 22.                                 16:38

       25          A.    But I would add to the statement that a             16:38


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       1      judgment was never entered in this matter, as I                 16:38

       2      testified to earlier, that the court was asking why             16:38

       3      the plaintiff was -- why the defendant, excuse me, was          16:38

       4      not seeking a judgment.       No answer, to my knowledge,       16:38

       5      was given.   And I again repeat for the record that             16:38

       6      negotiations were ongoing, where offers were made to            16:38

       7      pay this amount from RCDI to the defendant.                     16:38

       8           Q.    Mr. Rothschild, I've personally reviewed the         16:38

       9      docket.   I don't see any evidence of that.                     16:38

       10                Do you think you can produce that evidence,          16:38

       11     sometime after this deposition, for my review?                  16:38

       12          A.    Many years ago.      I have no knowledge whether     16:38

       13     it would be evidence or not.       The person that was the      16:38

       14     general counsel at the time no longer works for us and          16:39

       15     hasn't for many, many years.       He would hold those          16:39

       16     records, if there were any records.        What happened to     16:39

       17     them, I don't know.       I've never seen anything in that      16:39

       18     regard.   But I am testifying hereto that there were            16:39

       19     numerous conversations that were held, as reported to           16:39

       20     me by counsel, to pay.                                          16:39

       21          Q.    Looking now at Exhibit 22, an order dated            16:39

       22     August 13th, 2019.                                              16:39

       23                Do you understand, sir, that a report and            16:39

       24     recommendation is an order from the court?                      16:39

       25          A.    I'm sorry.     Say again.                            16:39


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       1                 I do know that the court specifically told,        16:43

       2      as I previously testified, that I would not be brought        16:43

       3      into the case until service was effectuated and a             16:43

       4      hearing would be held on the matter to determine the          16:43

       5      merits of bringing me in.      And --                         16:43

       6           Q.    And --                                             16:43

       7           A.    Excuse me.     And I believe the record            16:44

       8      supports that.                                                16:44

       9           Q.    Did either RCDI or you personally ever pay         16:44

       10     any portion of the court order awarding attorneys'            16:44

       11     fees in this matter?                                          16:44

       12          A.    I repeat my testimony that no payment was          16:44

       13     made for RCDI, and that ongoing negotiations were             16:44

       14     being held to effectuate payment, but a judgment was          16:44

       15     never filed by the court, even though the court was           16:44

       16     wondering if they were going to seek a judgment.              16:44

       17                I also repeat my testimony -- I also state         16:44

       18     for the record that I was never asked by the court to         16:44

       19     pay anything; that the court was -- the court was             16:44

       20     asking for me to be served, to decide whether they            16:44

       21     were to bring me into the case.                               16:44

       22          Q.    Mr. Rothschild, you have a right, and I'm --       16:44

       23     I'm perfectly happy to let you explain your answer,           16:44

       24     but I first need an answer.                                   16:44

       25                So it's a yes-or-no question, and then,            16:44


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       1      please, you have a right to explain yourself.                 16:45

       2                 Did RCDI ever pay any attorneys' fees              16:45

       3      pursuant to the order ordering attorneys' fees to be          16:45

       4      paid?                                                         16:45

       5           A.    No, we did not.                                    16:45

       6           Q.    Okay.   And did you personally ever pay any        16:45

       7      attorneys' fees based on the order from the court             16:45

       8      ordering that attorneys' fees be paid?                        16:45

       9           A.    No.   And to explain, as you said you would        16:45

       10     currently allow me to explain:      I was never ordered by    16:45

       11     the court to pay anything to RC -- from RCDI or pay           16:45

       12     anything to -- I'm sorry.     I was never ordered by the      16:45

       13     court, me personally, to pay any sum of money to the          16:45

       14     defendant.                                                    16:45

       15          Q.    And your recollection is that's because you        16:45

       16     were not properly served; right?                              16:45

       17          A.    My recollection would be that I was not            16:45

       18     properly served, and the court had stated that I would        16:45

       19     need to be properly served and that the court would           16:45

       20     have a hearing to determine the merit of bringing me          16:45

       21     into the case.                                                16:46

       22          Q.    You could have paid the money; right?    You       16:46

       23     knew the court ordered attorneys' fees paid, and              16:46

       24     either you or RCDI could have paid the money; right?          16:46

       25          A.    Absolutely incorrect.                              16:46


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       1             Q.   Why not?                                             16:46

       2             A.   As far as me paying the money, I had no              16:46

       3      obligation, as I just said, to pay any money.       It           16:46

       4      would be absolutely not the case that I had any                  16:46

       5      obligation, any legal obligation, at that point, to              16:46

       6      pay.   And as I've testified -- So that's the answer to          16:46

       7      the second question, as to why I didn't pay.        I had no     16:46

       8      legal obligation to pay.                                         16:46

       9                  Your first question, I believe, Ms. Lamkin,          16:46

       10     is why RCDI did not pay.       As I've testified to now          16:46

       11     numerous times today, RCDI was in negotiation with the           16:46

       12     defendant as to effectuate a payment settlement.                 16:46

       13            Q.   The court issued an order ordering RCDI to           16:46

       14     pay attorneys' fees; correct?                                    16:46

       15            A.   I believe so.                                        16:46

       16            Q.   And RCDI did not honor that order; correct?          16:47

       17            A.   I don't know if the order was not honored.           16:47

       18     That would be a legal determination.        But I will tell      16:47

       19     you, and I've testified and I will testify again, that           16:47

       20     the company RCDI was in negotiation to pay to the                16:47

       21     defendant an amount of money that would satisfy them             16:47

       22     in this matter.                                                  16:47

       23                 MS. LAMKIN:   I'm going to mark Exhibit 23           16:47

       24     the complaint from case number 1:19-cv-01109,                    16:47

       25     Rothschild Digital Confirmation v. CompanyCam.                   16:48


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       1                         (Exhibit 23 marked.)                         16:48

       2           Q.    BY MS. LAMKIN:     Have you ever seen                16:48

       3      Exhibit 23 before, Mr. Rothschild?       And I'm happy to       16:48

       4      flip through it if that would help you.                         16:48

       5           A.    Well, Ms. Lamkin, for the record, I'm only           16:48

       6      seeing the first two sentences after the title page,            16:48

       7      "plaintiff ... through its undersigned attorneys" --            16:48

       8      and now you're scrolling.                                       16:48

       9           Q.    Correct.   Would you like me to scroll               16:48

       10     through the document for you, sir?                              16:48

       11          A.    Yes, I would.     Yep.                               16:48

       12          Q.    Okay.   I'll just do it page by page, and you        16:48

       13     tell me when you're ready for the next page.                    16:48

       14          A.    Ms. Lamkin, are you asking me to read each           16:48

       15     page, or you just want me to kind of quickly scroll             16:48

       16     through it?                                                     16:48

       17          Q.    I'm sure not, sir.       I'm just -- Whatever you    16:48

       18     need to tell -- to ascertain whether or not you've              16:48

       19     seen this document before.                                      16:48

       20          A.    I don't recollect with specificity whether           16:48

       21     I've seen the document before.                                  16:48

       22          Q.    Okay.   In general, do you review the                16:49

       23     complaints before they're filed?                                16:49

       24                Let me ask that a better way, sir.      That's a     16:49

       25     terrible question.                                              16:49


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       1           A.    Sometimes I do, sometimes I don't.      I will          16:49

       2      tell you that I rely upon my attorneys to file a                   16:49

       3      correct complaint.                                                 16:49

       4           Q.    Do you recall this case, RDC v. CompanyCam?             16:49

       5           A.    There is a recollection but not with                    16:49

       6      specificity.                                                       16:49

       7           Q.    What do you remember about this case?                   16:49

       8           A.    I remember that you were counsel, I believe,            16:49

       9      for the defendant.                                                 16:49

       10          Q.    Do you remember anything else?                          16:49

       11          A.    I remember that a settlement was achieved,              16:49

       12     no money was paid by either side; that counsel -- my               16:49

       13     counsel negotiated with you, Ms. Lamkin, and I guess               16:49

       14     on behalf of the client --                                         16:49

       15          Q.    Wait, wait.     Don't -- If you're about to --          16:49

       16     Don't say any of the terms on the record, because it's             16:49

       17     a separate matter.                                                 16:49

       18          A.    Hmm.    Settlement was achieved --                      16:49

       19          Q.    Okay.   Fine.                                           16:50

       20          A.    -- to the full satisfaction of all action.              16:50

       21          Q.    I'm going to move to strike that.       It's a          16:50

       22     confidential, unrelated matter; so let's just not have             16:50

       23     that on the record, please, sir.                                   16:50

       24                Do you recall which entity or persons are               16:50

       25     the manager, or were the manager, of RDC?                          16:50


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